                           No. 22-13992 & 22-13994


                  United States Court of Appeals
                     for the Eleventh Circuit
                          LEROY PERNELL, ET AL.,
                            Plaintiffs-Appellees,
                                      v.
                           BRIAN LAMB, ET AL.,
                           Defendants-Appellants.

                          ADRIANA NOVOA, ET AL.,
                             Plaintiffs-Appellees,
                                       v.
                            BRIAN LAMB, ET AL.,
                           Defendants-Appellants.

              Brief of Amicus Curiae Academic Freedom Alliance
                        in Support of Plaintiffs-Appellees

                On Appeal from the United States District Court
                       for the Northern District of Florida,
             Nos. 4:22-cv-304-MW-MAF & 4:22-CV-324-MW-MAF


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      Certificate of Interested Persons and Corporate Disclosure Statement

   Amicus Curiae Academic Freedom Alliance, a nonprofit corporation organized,

hereby states that it has no parent companies, subsidiaries, or affiliates and that it

does not issue shares to the public. All parties have consented to the filing of this

amicus brief. Amici certify that the following persons have an interest in the out-

come, as required by Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1:

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 2.    American Civil Liberties Union Foundation of Florida, Inc., Attorneys for
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      missed on Nov. 22, 2022)

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33.   Florida State University Board of Trustees, Defendant (Dismissed on Nov.
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  Dated: June 19, 2023                       Respectfully Submitted,

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                            Interest of Amicus Curiae 1

   This amicus curiae brief is being filed on behalf of the Academic Freedom Alli-

ance, a nonprofit organization whose members are dedicated to protecting the rights

of faculty members at colleges and universities to speak, instruct, and publish with-

out fear of sanction or punishment. Members of the Academic Freedom Alliance

come from across the political spectrum, and are united in their commitment to truth-

seeking scholarship and in recognizing that an attack on academic freedom any-

where is an attack on academic freedom everywhere.

   Alliance members’ experience as university professors, the range of subjects they

teach, and the range of their ideological beliefs, gives them a special perspective on

the dangers that the Florida Act poses to candid and comprehensive class discussion.

Based on that experience, AFA has published a statement criticizing policies such

as the one being challenged in this case. Academic Freedom Alliance, Academic

Freedom Alliance Statement on “Divisive Concepts” Policies, Jan. 6, 2023, https://

perma.cc/43PX-LJTN.




   1
     No party or party’s counsel has authored this brief in whole or in part, or con-
tributed money that was intended to fund preparing or submitting the brief. No per-
son has contributed money that was intended to fund preparing or submitting the
brief, except that UCLA School of Law paid the expenses involved in filing this
brief.

                                          1
                               Statement of the Issues

   Whether the Stop W.O.K.E. Act’s restriction on the expression of certain view-

points in university teaching violates the First Amendment.

                              Summary of Argument

   I. The Florida Act bars professors from “espous[ing], promot[ing], or advan-

c[ing],” Fla. Stat. § 1000.05(4)(a), a wide range of “concept[s]” that appear in de-

bates at the heart of many university courses. These include discussions of important

policy proposals that are constantly in the news, in court, and in legislatures: affirm-

ative action, racial profiling, the participation of transgender athletes in sports, and

more.

   The Act thus cannot be justified by Bishop v. Aronov, 926 F.2d 1066 (11th Cir.

1991). The Bishop decision upheld a university’s restriction on a professor’s dis-

cussing his personal religious beliefs in a class on exercise physiology; such a re-

striction, this Court reasoned, “asks only that [the professor] separate his personal

and professional beliefs and that he not impart the former to his students during ‘in-

structional time’ or under the guise of the courses he teaches.” Id. at 1071. Yet the

Florida Act covers “professional” views as much as “personal” ones, including when

they are directly relevant to the courses rather than being presented “under the guise

of [the] courses.”




                                           2
   II. Nor can the Act be saved on the theory that it bans only “espous[ing]” certain

concepts and lets professors “discuss” those concepts “in an objective manner.”

What is or is not “objective” is often perceived highly subjectively. Even professors

who do set forth both (or all) sides of an argument may be accused of deliberately

framing one side well and another side badly; spending too much time on one side

and not another; trying to spread their own views under the guise of objectivity; or

even discussing one side in a positive tone of voice and the other in a way that is

seen as critical or sarcastic.

   That risk of allegations that classroom speech lacks “objectiv[ity]” is especially

high in impromptu oral give-and-take between the professor and students, whether

in a seminar, in a Socratic discussion, or in answers to questions. The Act thus tends

to chill professors from seriously discussing certain subjects, notwithstanding the

supposed savings clause for “objective” discussion.

   III. The Act affects the First Amendment rights of speakers across the political

spectrum, and across a wide range of topics. For instance, a serious discussion of the

merits of traditionalist attitudes towards sex roles—attitudes that might no longer be

endorsed in many contexts by American law, but that had been part of world history

for millennia and are still approved of in many countries and by many religious tra-

ditions—might be seen as “advanc[ing]” the view that men “should not attempt to

treat [women] without respect to . . . sex.” § 1000.05(4)(a)(4). A discussion of the



                                          3
merits of same-sex sports teams might be seen as “endors[ing]” the views that men

“should be discriminated against” (by being excluded from women-only teams) “to

achieve diversity, equity, or inclusion” for women athletes. § 1000.05(4)(a)(6). And

if the Act is upheld, that will set a precedent for other legislatures banning the ex-

pression of still other views, whether pro-capitalist or anti-capitalist, pro-environ-

mentalist or anti-environmentalist, pro-affirmative-action or anti-affirmative-action,

and more.

     For all these reasons, the Act is unconstitutionally vague and overbroad, and the

decision below should be affirmed.

                                       Argument

I.    The Act prohibits speech that is integral to class discussion, and therefore
      cannot be justified under Bishop

     This Court’s Bishop precedent calls for a balance between the University’s hav-

ing “some authority over the conduct of teachers in and out of the classroom” and

the “strong predilection for academic freedom as an adjunct of the free speech rights

of the First Amendment.” Id. at 1074. In Bishop, this Court upheld a university’s

“demand[ing]” “the separation of [a professor’s] personal views from his professo-

rial duties.” Id. at 1076 n.7. “Dr. Bishop’s professional views” and “his religious

beliefs,” this Court held, “have to be conceptually separated for fair analysis,” and

the university must have “the authority . . . to request that [Bishop] sequester the

personal from the professional.” Id.


                                           4
   In contrast, the Florida Act applies to speech that is central to serious debates in

a wide range of classes, such as history, law, sociology, criminology, anthropology,

philosophy, and more. For example, the Act prohibits instruction that “advances”

the “concept[]” that a “person, by virtue of his or her race, color, national origin, or

sex, should be discriminated against or receive adverse treatment to achieve diver-

sity, equity, or inclusion.” Fla. Stat. § 1000.05(4)(a)(6). Yet that concept, whether

one agrees with it or not, is central to many defenses of affirmative action based on

race, ethnicity, and sex. This means that law professors seeking to discuss the Su-

preme Court’s affirmative action cases would be sharply limited in their ability to

discuss one of the key arguments on one side of the debate.

   Likewise, reparations for slavery are a controversial subject—but one that is con-

stantly in the news, and that would indubitably arise in many serious classes that

touch on modern race relations. Under the Act, professors would be unable to can-

didly and thoroughly discuss this topic, for fear of being seen as “advanc[ing]” the

argument that “A person, by virtue of his or her race, color, national origin, or sex

bears responsibility for, or should be discriminated against or receive adverse treat-

ment because of, actions committed in the past by other members of the same race,

color, national origin, or sex.” § 1000.05(4)(a)(7).

   Similarly, classes on sociology, criminology, psychology, anthropology, criminal

law, employment law, and many more subjects routinely discuss the question



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whether people generally—or members of specific groups in particular—are espe-

cially likely to engage in subconscious bias. Yet professors are in peril whenever

they discuss these arguments, because the arguments may be seen as stating that “A

person, by virtue of his or her race, color, national origin, or sex is inherently racist,

sexist, or oppressive, whether consciously or unconsciously.” § 1000.05(4)(a)(2).

   That Bishop’s personal views on theology could be excluded from a university

class on physiology thus cannot justify upholding the Act: The Act restricts the free

and frank discussion of questions that are a central to a class’s subject matter, not

just of distant tangents. It thus fails the First Amendment test set forth in Bishop, for

reasons discussed in more detail in the Brief of Appellees Novoa et al. at 34-39.

II. The “savings clause” does not actually save the statute

   To be sure, the Act purports to allow professors to “discuss” the prohibited eight

concepts, so long as they do so “in an objective manner without endorsement of the

concepts.” § 1000.05(4). But that offers no safe harbor, because what counts as “ob-

jective” will necessarily be in the eye of the beholder.

   Consider, for instance, a professor discussing the arguments in the Supreme

Court’s affirmative action cases. Even a professor who is striving hard to be “objec-

tive” may spend more time on one side than another. The arguments for one side

may be more complex. Students may have more questions about one side. Students

may have a harder time understanding one side, and may need more explanation of



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that side. Yet all these choices could be perceived by some students as betraying a

lack of “objectiv[ity].”

   And of course sometimes a professor may need to set forth the best argument for

a particular side because the students are not adequately grasping the argument. The

professor may only be seeking to explain the argument to the students, and may even

disclaim any attempt to endorse the argument. But some students might nonetheless

view this as a non-“objective” discussion.

   Observers may also perceive what they view as a lack of “objectiv[ity]” in mat-

ters such as a professor’s tone or emphasis. They might see a professor’s responses

to some students as dismissive, patronizing, or even sarcastic, while other observers

may view the same remarks as thoughtful and balanced. Likewise, they might think

that the professor is offering only a straw man argument for one side, while provid-

ing a much stronger argument for the other.

   Such subjective perceptions of a lack of objectivity are especially likely for two

reasons. First, it is human nature to perceive people one generally agrees with as

“objective” and people on the other side of various debates as “biased.” After all,

people tend to view their sides as reasonable and correct (attributes that are com-

monly seen as connected with objectivity) and their adversaries as unreasonable and

misguided. Students, administrators, and others are thus likely to often infer a lack




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of objectivity on the part of professors simply because they disagree with the pro-

fessors’ views.

   Second, sometimes the professor will have expressed a particular view outside

class, whether in scholarship, public commentary, litigation, or any other exercise of

the professor’s First Amendment rights. If a professor is known as a supporter of

affirmative action, for instance, many people will perceive even a balanced in-class

discussion of the arguments for affirmative action as “espous[ing],” “promot[ing],”

or “advanc[ing]” those arguments, rather than as being “objective.”

   Aware of this risk, careful professors may reasonably avoid discussing the peri-

lous arguments altogether, rather than relying on an uncertain protection for suppos-

edly “objective” “discuss[ion].” And that is especially so because much in-class dis-

cussion—especially in smaller seminars or in classes that are taught Socratically—

is largely spontaneous. All of us recognize that sometimes something we say may

be misperceived; we are even more aware that sometimes discussions that we view

as objective will come across otherwise. In striking down vague loyalty oaths in

Baggett v. Bullitt, 377 U.S. 360 (1964), the Court reasoned:

   The uncertain meanings of the oaths require the oath-taker—teachers and pub-
   lic servants—to “steer far wider of the unlawful zone” than if the boundaries
   of the forbidden areas were clearly marked. Those with a conscientious regard
   for what they solemnly swear or affirm, sensitive to the perils posed by the
   oath’s indefinite language, avoid the risk of loss of employment, and perhaps
   profession, only by restricting their conduct to that which is unquestionably
   safe. Free speech may not be so inhibited.



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Id. at 372 (citation omitted). The same is true of vague safe harbors for supposed

“objectiv[ity].”

   The Court’s decision in Gentile v. State Bar, 501 U.S. 1030 (1991), offers a help-

ful analogy. In that case, a supposed “safe harbor” provision allowed lawyers to

publicly discuss the “general” nature of their defense, if they did so without “elabo-

ration.” But this, the Court held, actually offered no safety:

   [T]he Rule fails to provide fair notice to those to whom it is directed. A lawyer
   seeking to avail himself of Rule 177(3)’s protection must guess at its contours.
   The right to explain the “general” nature of the defense without “elaboration”
   provides insufficient guidance because “general” and “elaboration” are both
   classic terms of degree. In the context before us, these terms have no settled
   usage or tradition of interpretation in law. The lawyer has no principle for
   determining when his remarks pass from the safe harbor of the general to the
   forbidden sea of the elaborated.

Id. at 1048-49 (cleaned up). The same is true here: The distinction between “objec-

tive” “discuss[ion]” of certain “concepts” and forbidden “espous[al],” “promo-

t[ion],” or “advance[ment]” provides “insufficient guidance” where First Amend-

ment rights are involved.

   Indeed, under the Florida Act, “[i]t would be a bold teacher who would not stay

as far as possible from utterances or acts which might jeopardize his living by en-

meshing him in [the] intricate machinery,” Keyishian v. Bd. of Regents, 385 U.S.

589, 601 (1967), that would necessarily be deployed in determining whether a spon-

taneously flowing class discussion was sufficiently “objective.” The Florida Act will




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thus cause the very sort of “pall of orthodoxy over the classroom” that “the First

Amendment . . . does not tolerate.” Id. at 603.

   Finally, sometimes students may ask professors for their personal, non-“objec-

tive” opinions. “OK, we’ve heard your presentation of the arguments for and against

affirmative action, professor; but what do you think?” This is a normal exchange to

have in a university context, especially in a small seminar that is supposed to be a

conversation among fellow scholars.

   Yet under the Act, professors would be unable to express their honest views on

the subject, for fear that any such expression—and perhaps all the other expression

that came before it—will be seen as not just “objective” “discuss[ion]” of certain

ideas, but as forbidden “espous[al],” “promot[ion],” or “advance[ment]” of those

ideas. Indeed, the professors might not even be able to respond, “I’m afraid I

shouldn’t answer, given the Florida Act,” because that itself may betray their views.

After all, if their views were consistent with the Florida Legislature’s, they would

be free to answer; the Act would only forbid the expression of their views if the

views are the ones that the Legislature condemned.

   To be safe, professors would just have to have a general “no comment” policy as

to any matters on the prohibited list. Yet “[t]eachers and students must always re-

main free to inquire, to study and to evaluate, to gain new maturity and understand-

ing; otherwise our civilization will stagnate and die,” and this sort of “[s]cholarship



                                          10
cannot flourish in an atmosphere of suspicion and distrust.” Sweezy v. N.H., 354 U.S.

234, 250 (1957) (plurality opin.). Such inquiry and scholarship likewise “cannot

flourish in an atmosphere” of legislatively mandated “no comment.” The First

Amendment cannot tolerate such “governmental intrusion into the intellectual life

of a university,” which causes “grave harm” to the marketplace of ideas. Id. (Frank-

furter, J., joined by Harlan, J., concurring). Again, this chilling effect that the Act

imposes on professors’ speech further shows that the Act is unconstitutionally over-

broad, and is not saved by the vague “objective” “discuss[ion]” provision.

III. The Act affects the First Amendment rights of speakers across the political
     spectrum

   The Act would of course be unconstitutional even if it limited only the speech of

the “woke,” as the initial name of the Act—Stop W.O.K.E. Act—suggests. But the

Act is vastly broader than that.

   Consider, for instance, the prohibition on speech that “advances” the “concept”

that “[a] person, by virtue of his or her . . . sex . . . should be discriminated against

or receive adverse treatment to achieve diversity, equity, or inclusion.” Fla. Stat.

§ 1000.05(4)(a)(6). This “concept” literally includes the view—a view embedded in

current American law—that men should be excluded “by virtue of [their] . . . sex”

from women’s sports teams in order to promote “diversity, equity, or inclusion.”




                                           11
   The Act would thus bar arguments that transgender athletes should not be allowed

on women’s teams. But even beyond that, it would bar a defense of the well-estab-

lished position that those athletes who are undisputedly male should be excluded

from women’s teams.

   Likewise, the Act prohibits university classroom speech that “advances” the

“concept” that “Members of one . . . sex . . . should not attempt to treat others without

respect to . . . sex.” § 1000.05(4)(a)(4). Of course, many religious, cultural, and

moral traditions take the view that men should treat women differently because they

are women. Indeed, throughout human history, this view has seemingly been the

norm.

   This view is still commonly acted on by people in family life, social life, and

religious life even in modern America, where discrimination in employment and

other contexts based on sex is generally banned. Theorizing that such a view is

sound, because men and women really are different in important ways, would thus

be forbidden.

   And the Act would also forbid arguments that some facets of modern culture may

have gone too far in erasing sex differences—for instance, that the military may have

erred in allowing women in combat roles, or that boys should be raised to take a

more traditionally “chivalrous” view towards women. Yet such arguments are of




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course fundamental to important debates about law, social organization, moral phi-

losophy, religion, and more.

   Criminology or psychology classes may also need to discuss the reality that, in

our own society and throughout the world, men tend to be more violent than women,

and thus that women tend to be less violent than men. Yet statements that “ad-

vance[]” this “concept” would be forbidden on the theory that they suggest that

“[m]embers of one . . . sex are morally superior to members of another . . . sex.”

§ 1000.05(4)(a)(1).

   Classes that deal with comparative politics or economic development also have

to confront the reality that some countries are much more politically and economi-

cally successful than others. There are many possible explanations for such national

differences, but some of them turn on differences in the nations’ cultural attitudes

towards morally laden matters such as corruption, trust, industriousness, education,

individual freedom, personal violence, and the like.

   The Act would, however, ban any teaching that “advances” such “concepts,” be-

cause those could be seen as expressing the view that “[m]embers of one . . . national

origin . . . are morally superior to members of another . . . national origin.” Fla. Stat.

§ 1000.05(4)(a)(1). “National origin,” after all, refers not just to distant ethnic origin

but also to “the country where a person was born.” Espinoza v. Farah Mfg. Co., 414

U.S. 86, 88 (1973).



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   A statement such as, “Germany does better economically than Spain because

Germans tend to be less corrupt in business and government” would thus be forbid-

den by the Act. 2 Likewise, statements such as, “The success of Chinese immigrants

in many societies stems in large part from their greater commitment to education”

would be forbidden as well. 3

   The Act also prohibits teaching “that a person’s . . . status as either privileged or

oppressed is necessarily determined by his or her race, color, national origin, or sex.”

Fla. Stat. § 1000.05(4)(a)(3). This means that a professor could not argue against

race-based affirmative action by claiming that affirmative action programs are im-

proper because they “necessarily” give non-whites a “privileged” “status.”




   2
      Cf., e.g., Transparency Int’l, Corruption Perceptions Index, https://www.trans-
parency.org/en/cpi/2021 (reporting large difference in perception of corruption in
Germany and in Spain); Agyenim Boateng, Yan Wang, Collins Ntim & Keith W.
Glaister, National Culture, Corporate Governance and Corruption: A Cross-Coun-
try Analysis, 26 Int’l J. Fin. & Econ. 3852 (2020) (discussing, throughout the article,
the effects of various cultural attributes as well as legal rules on corruption, and not-
ing at pp. 3859 & 3863 that having a German- or Scandinavian-origin legal system
is associated with lower corruption than having a French- or Spanish-origin legal
system).
    3
      Cf., e.g., Amy Hsin & Yue Xie, Explaining Asian Americans’ Academic Ad-
vantage оver Whites, 111 Proc. Nat’l Acad. Sci. 8416, 8416 (2014) (concluding that
“the Asian-American educational advantage is attributable mainly to Asian students
exerting greater academic effort” and “the disadvantaged children of Chinese and
Vietnamese immigrant families routinely surpass the educational attainment of their
native-born, middle-class white peers”).

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   And of course, these are just applications of the Florida Act itself. If the Act is

upheld, then such a precedent could equally be used by other state legislatures to ban

a vast range of other views, whether on the Left, Right, or otherwise. A legislature

that disapproved of free market economics could ban teaching that “advances” such

“concepts.” A legislature that disapproved of criticism of race-based affirmative ac-

tion could ban teaching that advances the concept that the government should be

color-blind. Legislatures that took particular views on environmentalism or climate

change could ban any teaching that advances concepts inconsistent with those legis-

latures’ views. That is not consistent with “Our Nation[’s] . . . deep[] commit[ment]

to safeguarding academic freedom,” Keyishian, 385 U.S. at 603.

                                    Conclusion

   The Florida Act abridges the First Amendment rights of a vast range of speak-

ers—“woke” and otherwise—by interfering with university professors’ ability to

have honest and thorough classroom discussions with their students. It chills discus-

sions on speech that is directly related to course content. And the illusory supposed

safe harbor for “objective” speech cannot provide constitutionally adequate protec-

tion.




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Respectfully Submitted,

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                            Certificate of Compliance

   This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 3,543 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

Dated: June 19, 2023

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                               Certificate of Service


   I hereby certify that I electronically filed the foregoing Brief Amicus Curiae to-

day with the Clerk of the Court for the United States Court of Appeals for the Elev-

enth Circuit by using the appellate CM/ECF system. All participants except Isabella

Salomao Nascimento in the case are registered CM/ECF users, and will be served

by the appellate CM/ECF system. Ms. Nascimento, one of the counsel for appellee

Pernell, has been served by e-mail at salomaonascimentoi@ballardspahr.com (with

consent of her co-counsel and law firm colleague Jason Leckerman).

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